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  9
                           UNITED STATES DISTRICT COURT
 10
                     SOUTHERN DISTRICT OF CALIFORNIA
 11
 12
    JOHN MERCER, Derivatively on                Case No. '25CV1582 H      MSB
 13 Behalf of Nominal Defendant
    MARAVAI LIFESCIENCES                        VERIFIED SHAREHOLDER
 14 HOLDINGS, INC.,                             DERIVATIVE COMPLAINT
 15             Plaintiff,
 16       v.
 17 WILLIAM E. MARTIN, III, KEVIN
    HERDE, R. ANDREW ECKERT,
 18 SEAN CUNNINGHAM, BENJAMIN
    DAVERMAN, JOHN DEFORD,
 19 SUSANNAH GRAY, JESSICA
    HOPFIELD, GREGORY T. LUCIER,
 20 LUKE MARKER, CONSTANTINE
    MIHAS, and MURALI K.
 21 PRAHALAD,
 22           Defendants,
 23       and
 24 MARAVAI LIFESCIENCES
    HOLDINGS, INC.,
 25
            Nominal Defendant.
 26
 27
 28

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  1         Plaintiff John Mercer (“Plaintiff”), by and through his undersigned attorneys,
  2 brings this derivative complaint for the benefit of nominal defendant, Maravai
  3 LifeSciences Holdings, Inc. (“Maravai” or the “Company”), against its Board of
  4 Directors (the “Board”) and certain of its executive officers seeking to remedy
  5 Defendants’ breaches of fiduciary duties and violations of Section 14(a) of the
  6 Securities Exchange Act of 1934 (the “Exchange Act”). Plaintiff’s allegations are
  7 based upon his personal knowledge as to himself and his own acts, and upon
  8 information and belief, developed from the investigation and analysis by Plaintiff’s
  9 counsel, including a review of publicly available information, including filings by
 10 Maravai with the U.S. Securities and Exchange Commission (“SEC”), press releases,
 11 news reports, analyst reports, investor conference transcripts, publicly available
 12 filings in lawsuits, and matters of public record.
 13 I.      NATURE AND SUMMARY OF THE ACTION
 14         1.    Maravai is a life sciences company which provides products to enable
 15 the development of drug therapies, diagnostics, novel vaccines, and support research
 16 on human diseases worldwide.
 17         2.    During 2024, the Individual Defendants (defined herein) issued
 18 materially misleading statements about Maravai’s financial results and the
 19 effectiveness of its internal controls over financial reporting.
 20         3.    On February 25, 2025, before the market opened, Maravai announced it
 21 was postponing its fiscal 2024 earnings release and would delay filing its annual
 22 report on Form 10-K for the fiscal year ended December 31, 2024. The Company had
 23 identified an error in revenue recognition that “resulted in approximately $3.9 million
 24 in revenue being recorded in the final week of the second quarter of 2024 upon
 25 shipment when it should have been recorded in the first week of the third quarter of
 26 2024 upon receipt by the customer.” The Company had identified “a material
 27 weakness in its internal controls over revenue recognition.” Maravai also required
 28

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  1 additional time to “complete its assessment of a potential non-cash impairment charge
  2 related to goodwill associated with its previous acquisition of Alphazyme LLC.”
  3         4.     On this news, the Company’s share price fell $0.87, or 21.70%, to close
  4 at $3.14 per share on February 25, 2025, on unusually heavy trading volume.
  5         5.     The foregoing revelations precipitated the filing of a securities class
  6 action in this district against Maravai and certain of the Defendants named herein,
  7 captioned Nelson v. Maravai LifeSciences Holdings, Inc., et al., Case No. 3:25-cv-
  8 00499 (the “Securities Class Action”).
  9         6.     Plaintiff did not make a litigation demand prior to filing this action
 10 because such action would have been futile based upon the composition of the Board
 11 and the actions taken by the Board, as alleged herein.
 12 II.     JURISDICTION AND VENUE
 13         7.     This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331
 14 in that this Complaint states a federal question: violations of Section 14(a) of the
 15 Exchange Act. This Court has supplemental jurisdiction over the state law claims
 16 asserted herein pursuant to 28 U.S.C. § 1367(a). This action is not a collusive one to
 17 confer jurisdiction on a court of the United States which it would not otherwise have.
 18         8.     Venue is proper in this District pursuant to 28 U.S.C. §§ 1391 and 1401
 19 because a substantial portion of the transactions and wrongs complained of herein
 20 occurred in this District, and the Defendants have received substantial compensation
 21 in this district by engaging in numerous activities that had an effect in this District.
 22 III.    PARTIES
 23 Plaintiff
 24         9.     Plaintiff owned his Maravai stock during the wrongdoing alleged herein
 25 and continues to do so.
 26
 27
 28

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  1 Nominal Defendant
  2        10.     Nominal Defendant Maravai is a Delaware corporation. Its principal
  3 executive offices are located in San Diego, California. Its Class A common stock
  4 trades on the Nasdaq exchange under the symbol “MRVI.”
  5 Defendants
  6        11.     Defendant William E. Martin, III (“Martin”) served as Chief Executive
  7 Officer (“CEO”) of Maravai from July 2023 to June 2025 and as a director of the
  8 Company from July 2024 to June 2025. He is named as a defendant in the Securities
  9 Class Action.
 10        12.     Defendant Kevin Herde (“Herde”) has served as Chief Financial Officer
 11 of Maravai since 2017.
 12        13.     Defendant R. Andrew Eckert (“Eckert”) has served as Chairman of the
 13 Board since December 2024. Eckert received $750,002 in compensation as a director
 14 during 2024.
 15        14.     Defendant Sean Cunningham (“Cunningham”) has served as a director
 16 of Maravai since 2020. Cunningham received $290,053 in compensation as a director
 17 during 2024.
 18        15.     Defendant Benjamin Daverman (“Daverman”) has served as a director
 19 of Maravai since 2020. Daverman received $282,553 in compensation as a director
 20 during 2024.
 21        16.     Defendant John DeFord (“DeFord”) has served as a director of Maravai
 22 since July 2023 and he has been a member of the Audit Committee since September
 23 2023. DeFord received $310,053 in compensation as a director during 2024.
 24        17.     Defendant Susannah Gray (“Gray”) has served as a director of Maravai
 25 and as Chair of the Audit Committee since 2020. Gray received $317,553 in
 26 compensation as a director during 2024.
 27
 28

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  1         18.   Defendant Jessica Hopfield (“Hopfield”) has served as a director of
  2 Maravai and a member of the Audit Committee since 2020. Hopefield received
  3 received $310,053 in compensation as a director during 2024.
  4         19.   Defendant Gregory T. Lucier (“Lucier”) has served as a director of
  5 Maravai since 2020. Lucier received $282,553 in compensation as a director during
  6 2024.
  7         20.   Defendant Luke Marker (“Marker”) has served as a director of Maravai
  8 since 2020. Marker received $282,553 in compensation as a director during 2024.
  9         21.   Defendant Constantine Mihas (“Mihas”) has served as a director of
 10 Maravai since 2020. Mihas received $292,553 in compensation as a director during
 11 2024.
 12         22.   Defendant Murali K. Prahalad (“Prahalad”) has served as a director of
 13 Maravai since 2020. Prahalad received $290,053 in compensation as a director during
 14 2024.
 15         23.   Defendants Martin, Herde, Eckert, Cunningham, Daverman, DeFord,
 16 Gray, Hopfield, Lucier, Marker, Mihas, and Prahalad are sometimes referred to
 17 hereinafter as the “Individual Defendants.”
 18 IV.     DUTIES OF THE INDIVIDUAL DEFENDANTS
 19         24.   By reason of their positions as officers, directors, and/or fiduciaries of
 20 Maravai and because of their ability to control the business and corporate affairs of
 21 Maravai, at all relevant times, the Individual Defendants owed Maravai and its
 22 shareholders fiduciary obligations of good faith, loyalty, and candor, and were
 23 required to use their utmost ability to control and manage Maravai in a fair, just,
 24 honest, and equitable manner. The Individual Defendants were required to act in
 25 furtherance of the best interests of Maravai and its shareholders so as to benefit all
 26 shareholders equally and not in furtherance of their personal interest or benefit. Each
 27 director and officer of the Company owes to Maravai and its shareholders a fiduciary
 28 duty to exercise good faith and diligence in the administration of the affairs of the

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  1 Company and in the use and preservation of its property and assets, and the highest
  2 obligations of fair dealing.
  3        25.    The Individual Defendants, because of their positions of control and
  4 authority as directors and/or officers of Maravai, were able to and did, directly and/or
  5 indirectly, exercise control over the wrongful acts complained of herein. Because of
  6 their advisory, executive, managerial, and directorial positions with Maravai, each of
  7 the Individual Defendants had knowledge of material non-public information
  8 regarding the Company.
  9        26.    To discharge their duties, the officers and directors of Maravai were
 10 required to exercise reasonable and prudent supervision over the management,
 11 policies, practices and controls of the Company. By virtue of such duties, the officers
 12 and directors of Maravai were required to, among other things:
 13               (a)   Exercise good faith to ensure that the affairs of the Company were
                        conducted in an efficient, business-like manner so as to make it
 14
                        possible to provide the highest quality performance of their
 15                     business;
 16               (b)   Exercise good faith to ensure that the Company was operated in a
 17                     diligent, honest, and prudent manner and complied with all
                        applicable federal and state laws, rules, regulations and
 18                     requirements, and all contractual obligations, including acting
 19                     only within the scope of its legal authority;
 20               (c)   Exercise good faith to ensure that the Company’s communications
                        with the public and with shareholders are made with due candor
 21
                        in a timely and complete fashion; and
 22
                  (d)   When put on notice of problems with the Company’s business
 23                     practices and operations, exercise good faith in taking appropriate
 24                     action to correct the misconduct and prevent its recurrence.
 25
 26
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  1 V.      SUBSTANTIVE ALLEGATIONS
  2         A.     Background
  3         27.    Maravai is a life sciences company which provides products to enable
  4 the development of drug therapies, diagnostics, novel vaccines, and support research
  5 on human diseases worldwide.
  6         28.    On February 22, 2023, the Company announced the acquisition of
  7 Alphazyme, LLC, a privately-held, founder-led OEM provider of custom, scalable
  8 molecular biology enzymes, servicing customers in the genetic analysis and nucleic
  9 acid synthesis markets. The total consideration to acquire Alphazyme consisted of a
 10 base cash purchase price of $75.3 million, subject to customary post-closing
 11 adjustments, and potential performance payments payable in cash of up to $75
 12 million.
 13         29.    Maravai is controlled by a consortium of investment entities affiliated
 14 with GTCR, LLC (“GTCR”). GTCR, at relevant times, controlled between 50% and
 15 56% of the voting power of Company stock. Cunningham is Managing Director and
 16 Head of the Healthcare Group of GTCR. Daverman was a Managing Director and
 17 Co-Head of the Healthcare Group at GTCR until 2022. Marker is a Managing
 18 Director at GTCR. Mihas is co-CEO and Managing Director at GTCR.
 19         B.     The Individual Defendants Cause the Company to Issue Materially
                   Misleading Statements
 20
            30.    On February 29, 2024, the Individual Defendants caused the Company
 21
      to issue its Form 10-K for the 2023 fiscal year, which was signed by Defendants
 22
      Martin, Herde, Cunningham, Daverman, DeFord, Gray, Hopfield, Lucier, Marker,
 23
      Mihas, and Prahalad. Among other things, the Form 10-K stated, “[w]e believe that
 24
      Alphazyme is uniquely positioned in the market to address customers’ custom
 25
      enzyme needs and has a reputation of being a flexible partner.”
 26
            31.    The Form 10-K stated the following about the Company’s acquisition
 27
      strategy and its internal controls in connection with acquisitions:
 28

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  1        We built our business by acquiring established and emerging companies
           with strong scientific foundations in our target markets and investing in
  2        their systems, processes and people to accelerate their growth and expand
           their technologies… Our acquisition strategy is to invest significantly in
  3        our acquired businesses. We strive to rapidly integrate their quality,
           human resources, information and financial systems into our shared
  4        services. All of our companies share a common enterprise resource
           planning system, and we implement our financial controls and
  5        reporting systems soon after acquisition.
  6        32.   Regarding the Company’s revenue recognition policies, the Form 10-K
  7 stated:
  8        Revenue is recognized when control of promised goods or services is
           transferred to a customer or distributor in an amount that reflects the
  9        consideration to which the entity expects to be entitled in exchange for
           those goods or services. Distributors are the principal in all sales
 10        transactions with its customers. To determine revenue recognition for its
           arrangements with customers, the Company performs the following five
 11        steps: (i) identify the contract(s) with a customer; (ii) identify the
           performance obligations in the contract; (iii) determine the transaction
 12        price; (iv) allocate the transaction price to the performance obligations in
           the contract; and (v) recognize revenue when (or as) the entity satisfies a
 13        performance obligation.
 14        33.   In the portion of the Form 10-K containing the “Report of Independent
 15 Registered Public Accounting Firm,” the Form 10-K disclosed the existence of a
 16 “Critical Audit Matter” related to the Company’s goodwill impairment assessment
 17 and to the Company’s revenue recognition:
 18        Goodwill Impairment Assessment
 19        Description of the Matter
 20        At December 31, 2023, the Company has recorded goodwill of $326.0
           million. As discussed in Note 1 to the consolidated financial statements,
 21        goodwill is tested at the reporting unit level for impairment at least
           annually or more frequently if indicators of potential impairment exist.
 22        Under the goodwill impairment assessment, if the carrying amount of a
           reporting unit exceeds its fair value, an impairment loss is recognized in
 23        an amount equal to the amount of the excess carrying amount of the
           reporting unit over its fair value. During the current year the Company
 24        executed a quantitative assessment over the goodwill balance assigned to
           each reporting unit.
 25
           Auditing the Company’s recoverability test for goodwill impairment
 26        assessment was challenging due to subjective estimates and
           assumptions used by the Company to determine fair value of the
 27        reporting units. The estimates were subject to higher uncertainty due
           to management judgements over significant assumptions, including
 28        revenue growth rates and valuation related discount rates.

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  1       How We Addressed the Matter in Our Audit
  2       We obtained an understanding, evaluated the design, and tested the
          operating effectiveness of controls over the Company’s goodwill
  3       impairment process, including controls over management’s review of its
          projected financial information utilized in the valuation of its reporting
  4       units.
  5       Our audit procedures over the Company’s goodwill impairment
          assessment included, among others, assessing the reasonableness of
  6       significant assumptions, specifically revenue growth rates, discount rates
          and assessing the completeness and accuracy of the underlying data used
  7       by the Company in its analyses. We evaluated whether significant
          assumptions were reasonable by comparing them to industry data and
  8       current market forecasts, and whether such assumptions were consistent
          with evidence obtained in other areas of the audit. We performed various
  9       sensitivity analyses around the assumptions to understand the impact on
          the fair value calculation. We also involved our valuation specialists to
 10       assist us in evaluating the reasonableness of the Company’s valuation
          methodologies and certain significant assumptions used by the
 11       Company.
 12                                       ***
 13       Description of the Matter
 14       During the year ended December 31, 2023, the Company’s revenues
          were $288.9 million, of which a portion relates to products sold to
 15       distributors. Its distributor customers resell the products to end users.
          Revenues from product sales are recognized when control is transferred
 16       to the Company’s customer.
 17       Auditing the Company’s product sales to distributors was challenging,
          specifically related to the effort required to audit the respective sales
 18       activity to assess whether incentives were provided that were not
          properly recognized. This involved judgmentally assessing factors
 19       including distributor customer ordering patterns, contractual terms,
          incentives offered and after shipment credits or free goods as described
 20       in Note 1 to the consolidated financial statements.
 21       How We Addressed the Matter
 22       We obtained an understanding, evaluated the design and tested the
          operating effectiveness of internal controls over the Company’s process
 23       to monitor appropriate terms and conditions for these transactions. This
          includes testing relevant controls over the information systems that are
 24       important to the initiation, recording and billing of revenue transactions
          as well as controls over the completeness and accuracy of the data used.
 25
          Our audit procedures over the Company’s product sales to distributor
 26       customers included, among others, performing analytical procedures to
          detect and investigate anomalies within the data. We also examined the
 27       terms and conditions of selected new or amended contracts with
          distributor customers and its impact on the Company’s recognition
 28       model. We also confirmed the terms and conditions of contracts directly

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   1        with a selection of distributor customers, including whether there are side
            agreements and terms not formally included in the contract that may
   2        impact the Company’s revenue recognition. In addition, we obtained
            written representations from members of the commercial organization
   3        regarding the completeness of the terms and conditions reported to the
            legal and accounting departments
   4
            34.   Regarding the Company’s internal controls, the Form 10-K disclosed:
   5
            Evaluation of Disclosure Controls and Procedures
   6
            Under the supervision and with the participation of our management,
   7        including our Chief Executive Officer and Chief Financial Officer, we
            evaluated the effectiveness of the design and operation of our disclosure
   8        controls and procedures pursuant to Rule 13a-15(e) and 15(d)-15(e)
            under the Securities Exchange Act of 1934, as amended (the “Exchange
   9        Act”) as of the end of the period covered by this report. Our disclosure
            controls and procedures are designed to ensure that information required
  10        to be disclosed in the reports that are filed or submitted under the
            Exchange Act is accumulated and communicated to management,
  11        including the Chief Executive Officer and Chief Financial Officer, to
            allow for timely decisions regarding required disclosures. In designing
  12        and evaluating the disclosure controls and procedures, management
            recognized that any controls and procedures, no matter how well
  13        designed and operated, can provide only reasonable assurance of
            achieving the desired control objectives, as ours are designed to do, and
  14        management necessarily applies its judgment in evaluating the cost-
            benefit relationship of possible controls and procedures. Based on such
  15        evaluation, our Chief Executive Officer and Chief Financial Officer have
            concluded that, as of the end of such period, the Company’s disclosure
  16        controls and procedures were effective at a reasonable assurance level
  17        Management’s Report on Internal Control over Financial Reporting
  18        Our management is responsible for establishing and maintaining
            adequate internal control over financial reporting. Our internal control
  19        over financial reporting is a process designed to provide reasonable
            assurance regarding the reliability of financial reporting and the
  20        preparation of financial statements for external purposes in accordance
            with accounting principles generally accepted in the United States.
  21        Because of its inherent limitations, internal control over financial
            reporting may not prevent or detect misstatements. Therefore, even those
  22        systems determined to be effective can provide only reasonable
            assurance of achieving their control objectives.
  23
            Our management assessed the effectiveness of our internal control over
  24        financial reporting as of December 31, 2023. In making this assessment,
            we used the criteria set forth by the Committee of Sponsoring
  25        Organizations of the Treadway Commission (COSO) in Internal Control
            – Integrated Framework (2013 Framework). Based on its assessment,
  26        management concluded that, as of December 31, 2023, the Company’s
            internal control over financial reporting was effective. Ernst & Young
  27        LLP, an independent registered public accounting firm, has issued an
            auditors’ report on our internal control over financial reporting as of
  28

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   1         December 31, 2023, which is included elsewhere in this Annual Report
             on Form 10-K.
   2
             Changes in Internal Control over Financial Reporting
   3
             There have been no changes in our internal control over financial
   4         reporting, as such term is defined in Rules 13a-15(f) and 15d-15(f) under
             the Exchange Act, during the three months ended December 31, 2023
   5         that have materially affected, or are reasonably likely to materially affect,
             our internal control over financial reporting.
   6
             35.   Accordingly, as of December 31, 2023, Defendants Martin, Herde,
   7
       Cunningham, Daverman, DeFord, Gray, Hopfield, Lucier, Marker, Mihas, and
   8
       Prahalad were aware that the Company’s goodwill impairment assessment and
   9
       revenue recognition were critical accounting matters that the independent auditor had
  10
       found challenging to evaluate due to, among other things, the Company’s record
  11
       keeping, its sales practices, and the subjective judgments employed by management.
  12
             36.   On April 25, 2024, the Board, including Defendants Martin, Herde,
  13
       Cunningham, Daverman, DeFord, Gray, Hopfield, Lucier, Marker, Mihas, and
  14
       Prahalad, caused the Company to issue a definitive proxy statement soliciting
  15
       stockholder votes in advance of the special meeting to be held May 23, 2024 (the
  16
       “2024 Proxy”). These eleven Defendants solicited stockholder votes in favor of four
  17
       management proposals, including the election of Daverman, Gray, and Mihas, and
  18
       non-party Carl Hull (“Hull”), to new terms as directors through the 2027 annual
  19
       meeting. The 2024 Proxy stated that two of the four director nominees for election,
  20
       Daverman and Mihas, were nominated by GTCR. The 2024 Proxy incorporated the
  21
       Company’s 2023 10-K by reference.
  22
             37.   The 2024 Proxy stated that the Audit Committee of the Board, comprised
  23
       of Defendants DeFord, Gray, and Hopfield, and non-party Anat Ashkenazi, was
  24
       “responsible for, among other matters,” “discussing on a periodic basis, or as
  25
       appropriate, with management, our policies, programs and controls with respect to
  26
       risk assessment and risk management,” “reviewing and discussing with management
  27
       and the independent registered public accounting firm our annual and quarterly
  28

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   1 consolidated financial statements and related disclosures as well as critical accounting
   2 policies and practices used by us,” “reviewing the adequacy of our internal control
   3 over financial reporting and disclosure controls and procedures,” “stablishing policies
   4 and procedures for the receipt and retention, follow-up and resolution of accounting,
   5 internal accounting controls or auditing matters, complaints and concerns.”
   6         38.   The 2024 Proxy disclosed the following about the Board’s role in risk
   7 oversight:
   8         While our Nominating, Governance and Risk Committee has overall
             responsibility for risk oversight, primary oversight of certain risks has
   9         been delegated to other committees. Our Audit Committee monitors our
             major financial risk exposure. Our Compensation and Leadership
  10         Development Committee oversees the design and implementation of our
             compensation policies and programs and monitors the incentives created
  11         by these policies and programs. We are committed to ensuring the Board
             and its committees are consistently updated on threats to our business
  12         and receive consistent updates on risk mitigation processes.
  13         In connection with its reviews of the operations of our business, our full
             Board addresses the primary risks associated with our business, such as
  14         strategic planning. The Board appreciates the evolving nature of our
             business and industry and is actively involved with monitoring new
  15         threats and risks as they emerge.
  16         At periodic meetings of the Board and its committees, management
             reports to and seeks guidance from the Board and its committees with
  17         respect to the most significant risks that could affect our business, such
             as legal risks, information security and privacy risks, and financial, tax
  18         and audit related risks.
  19         39.   The 2024 Proxy was materially misleading in that it: (i) touted Audit
  20 Committee responsibilities but omitted to disclose that the Audit Committee was not
  21 discharging its duties under the Audit Committee Charter, while soliciting
  22 shareholder votes to reelect Defendant Gray, an Audit Committee member, to a new
  23 three-year term as director; and (ii) touted the Board’s oversight of enterprise risk but
  24 omitted to disclose that the Board was not adequately overseeing risks related to the
  25 Company’s internal controls related to critical audit matters, while soliciting
  26 shareholder votes to reelect Defendants Daverman, Gray, and Mihas to new three-
  27 year terms as directors.
  28

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   1         40.    On May 8, 2024, the Individual Defendants caused the Company to issue
   2 a press release announcing its financial results for the first quarter of 2024, which
   3 stated in relevant part:
   4         Financial Highlights:
   5         •Quarterly revenue of $64.2 million, Net loss of $(22.7) million, and
             Adjusted EBITDA of $7.8 million; and
   6
             •Reaffirmed financial guidance for the full year 2024 including a revenue
   7         range of $265.0 million to $285.0 million.
   8         41.    The May 8, 2024 press release also described material weaknesses to the
   9 Company’s internal controls as a risk that had not materialized:
  10         Important factors that could cause Maravai’s actual results and financial
             condition to differ materially from those indicated in the forward-looking
  11         statements include…
  12         x      Risks related to Maravai’s annual assessment of the effectiveness
                    of Maravai’s internal control over financial reporting, including
  13                the potential existence of any material weakness or significant
                    deficiency.
  14
             42.    On May 9, 2024, the Individual Defendants caused the Company to
  15
       submit its quarterly report for the period ended March 31, 2024 on a Form 10-Q filed
  16
       with the SEC, affirming the previously reported financial results. The quarterly report
  17
       further stated the following regarding the Company’s Evaluation of Disclosure
  18
       Controls and Procedures, in relevant part:
  19
             Item 4. Controls and Procedures
  20
             Evaluation of Disclosure Controls and Procedures
  21
             Under the supervision and with the participation of our management,
  22         including our Chief Executive Officer and Chief Financial Officer, we
             evaluated the effectiveness of our disclosure controls and procedures
  23         pursuant to Rule 13a-15(e) and 15(d)-15(e) under the Securities
             Exchange Act of 1934, as amended (the “Exchange Act”), as of the end
  24         of the period covered by this Quarterly Report on Form 10-Q. Our
             disclosure controls and procedures are designed to ensure that
  25         information required to be disclosed in the reports we file or submit
             under the Exchange Act is recorded, processed, summarized and
  26         reported within the time periods specified in the SEC’s rules and forms,
             and that such information is accumulated and communicated to our
  27         management, including the Chief Executive Officer and the Chief
             Financial Officer, to allow timely decisions regarding required
  28         disclosures. Any controls and procedures, no matter how well designed

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   1        and operated, can provide only reasonable assurance of achieving the
            desired control objective, and management necessarily applies its
   2        judgment in evaluating the cost-benefit relationship of possible controls
            and procedures. Based on that evaluation, our Chief Executive Officer
   3        and Chief Financial Officer have concluded that our disclosure
            controls and procedures were effective at a reasonable assurance level
   4        as of March 31, 2024.
   5        Changes in Internal Control over Financial Reporting
   6        There have been no changes in our internal control over financial
            reporting, as such term is defined in Rules 13a-15(f) and 15d-15(f) under
   7        the Exchange Act, during the three months ended March 31, 2024 that
            have materially affected, or are reasonably likely to materially affect, our
   8        internal control over financial reporting
   9        43.    On May 28, 2024, the Company filed a Form 8-K with the SEC,
  10 disclosing the results from the votes on the proposals contained the 2024 Proxy. In
  11 particular, the four management nominees for director were elected to new terms. The
  12 misleading disclosures in the 2024 Proxy were fundamental to the shareholder
  13 approval of the 2024 Proxy’s proposals. As a result of the misleading statements and
  14 omissions, the Company was harmed.
  15        44.    On August 7, 2024, the Individual Defendants caused the Company to
  16 issue a press release announcing its financial results for the second quarter of 2024,
  17 which stated in relevant part:
  18        Financial Highlights:
  19        •Quarterly revenue of $73.4 million, Net loss of $(14.5) million, and
            Adjusted EBITDA of $16.9 million; and
  20
            •Reaffirmed revenue guidance for the full year 2024 in the range of
  21        $265.0 million to $285.0 million.
  22                        *                    *                   *
  23        Second Quarter 2024 Financial Results
  24        Revenue for the second quarter was $73.4 million, representing a 6.5%
            increase over the same period in the prior year and was driven by the
  25        following:
  26        • Nucleic Acid Production revenue was $58.5 million for the second
            quarter, representing a 9.8% increase year-over-year. The revenue
  27        increase was primarily driven by higher demand for GMP CleanCap
            analogs, GMP mRNA, and our Glen Research product portfolio.
  28

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   1         • Biologics Safety Testing revenue was $14.9 million for the second
             quarter, representing a 4.7% decrease year-over-year. The revenue
   2         decline was primarily due to lower demand trends in China.
   3         Net loss and Adjusted EBITDA (non-GAAP) were $(14.5) million and
             $16.9 million, respectively, for the second quarter of 2024, compared to
   4         net loss and Adjusted EBITDA (non-GAAP) of $(11.9) million and $9.1
             million, respectively, for the second quarter of 2023.
   5
             45.    On August 8, 2024, the Individual Defendants caused the Company to
   6
       submit its quarterly report for the period ended June 30, 2024 on a Form 10-Q filed
   7
       with the SEC, affirming the previously reported financial results. The quarterly report
   8
       further stated the following regarding the Company’s Evaluation of Disclosure
   9
       Controls and Procedures, in relevant part:
  10
             Item 4. Controls and Procedures
  11
             Evaluation of Disclosure Controls and Procedures
  12
             Under the supervision and with the participation of our management,
  13         including our Chief Executive Officer and Chief Financial Officer, we
             evaluated the effectiveness of our disclosure controls and procedures
  14         pursuant to Rule 13a-15(e) and 15(d)-15(e) under the Securities
             Exchange Act of 1934, as amended (the “Exchange Act”), as of the end
  15         of the period covered by this Quarterly Report on Form 10-Q. Our
             disclosure controls and procedures are designed to ensure that
  16         information required to be disclosed in the reports we file or submit
             under the Exchange Act is recorded, processed, summarized and
  17         reported within the time periods specified in the SEC’s rules and forms,
             and that such information is accumulated and communicated to our
  18         management, including the Chief Executive Officer and the Chief
             Financial Officer, to allow timely decisions regarding required
  19         disclosures. Any controls and procedures, no matter how well designed
             and operated, can provide only reasonable assurance of achieving the
  20         desired control objective, and management necessarily applies its
             judgment in evaluating the cost-benefit relationship of possible controls
  21         and procedures. Based on that evaluation, our Chief Executive Officer
             and Chief Financial Officer have concluded that our disclosure
  22         controls and procedures were effective at a reasonable assurance level
             as of June 30, 2024.
  23
             Changes in Internal Control over Financial Reporting
  24
             There have been no changes in our internal control over financial
  25         reporting, as such term is defined in Rules 13a-15(f) and 15d-15(f) under
             the Exchange Act, during the three months ended June 30, 2024 that
  26         have materially affected, or are reasonably likely to materially affect, our
             internal control over financial reporting.
  27
  28

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   1         46.    On November 7, 2024, the Individual Defendants caused Maravai to
   2 issue a press release announcing its financial results for the third quarter of 2024,
   3 which stated in relevant part:
   4         Financial Highlights:
   5         • Quarterly revenue of $65.2 million, Net loss of $(176.0) million
             (including a goodwill impairment of $154.2 million), and Adjusted
   6         EBITDA of $12.7 million; and
   7         • Updated revenue guidance for the full year 2024 to be in the range of
             $255.0 million to $265.0 million.
   8
                            *                   *                  *
   9
             Third Quarter 2024 Financial Results
  10
             Revenue for the third quarter was $65.2 million, representing a 2.5%
  11         decrease over the same period in the prior year and was driven by the
             following:
  12
             • Nucleic Acid Production revenue was $49.9 million for the third
  13         quarter, representing a 2.5% decrease year-over-year. The revenue
             decrease was primarily driven by lower demand for research and
  14         discovery products.
  15         • Biologics Safety Testing revenue was $15.3 million for the third
             quarter, representing a 2.5% decrease year-over-year, primarily due to
  16         lower demand in the bioprocessing market.
  17         Net loss and Adjusted EBITDA (non-GAAP) were $(176.0) million and
             $12.7 million, respectively, for the third quarter of 2024, compared to
  18         net loss and Adjusted EBITDA (non-GAAP) of $(15.1) million and
             $11.9 million, respectively, for the third quarter of 2023.
  19
             47.    On November 12, 2024, the Individual Defendants caused the Company
  20
       to submit its quarterly report for the period ended September 30, 2024 on a Form 10-
  21
       Q filed with the SEC, affirming the previously reported financial results (the “3Q24
  22
       10-Q”). It stated that the Company performed an impairment test and concluded that
  23
       the “TriLink reporting unit had a carrying value that exceeded its estimated fair
  24
       value,” leading to a goodwill impairment of $154.2 million. The report stated, in
  25
       relevant part:
  26
             In connection with preparing its financial statements for the quarter
  27         ended September 30, 2024, the Company tested its reporting units for
             potential goodwill impairment in response to impairment indicators
  28         identified during the Company’s forecasting process. During the

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   1         quarter ended September 30, 2024, the Company revised its long-term
             forecast to reflect lower projected near term revenues due to lower
   2         demand in research and discovery products within our Nucleic Acid
             Production business. This revision also considered the slower than
   3         expected transition to new mRNA clinical trials as customers prioritize
             existing programs and more conservatively invest in new programs as
   4         the results of continued macroeconomic pressures. The Company
             performed a quantitative goodwill impairment test on each of
   5         its four reporting units.
   6         The Company performed the impairment test using a combination of the
             income and the market approach to determine whether the fair value of
   7         each reporting unit was less than its carrying value. The income approach
             utilizes a discounted cash flow model with inputs developed using both
   8         internal and market-based data, while the market approach utilizes
             comparable company information. The significant assumptions in the
   9         discounted cash flow models vary amongst, and are specific to, each
             reporting unit and include, but are not limited to, discount rates, revenue
  10         growth rate assumptions (including terminal growth rates) and operating
             margin percentages. Discount rates were determined using a weighted
  11         average cost of capital specific to each reporting unit and other market
             and industry data. For TriLink, the selected discount rate was 10.5%.
  12         These assumptions were developed in light of current market conditions
             and future expectations which include, but were not limited to, new
  13         product and service developments, impact of competition and future
             economic conditions. These estimates and assumptions represent a Level
  14         3 measurement because they are supported by little or no market activity
             and reflect our own assumptions in measuring fair value. Based on its
  15         interim quantitative assessment, the Company concluded that the
             TriLink reporting unit had a carrying value that exceeded its estimated
  16         fair value. As a result, the Company recorded goodwill impairment of
             $154.2 million on the condensed consolidated statements of operations,
  17         which was the entire goodwill balance at the reporting
             unit. No impairment       was      recorded      for    the    Company’s
  18         remaining three reporting units, as each of their fair values exceeded
             their respective carrying values.
  19
             48.   The 3Q24 10-Q further stated the following regarding the Company’s
  20
       Evaluation of Disclosure Controls and Procedures, in relevant part:
  21
             Item 4. Controls and Procedures
  22
             Evaluation of Disclosure Controls and Procedures
  23
             Under the supervision and with the participation of our management,
  24         including our Chief Executive Officer and Chief Financial Officer, we
             evaluated the effectiveness of our disclosure controls and procedures
  25         pursuant to Rule 13a-15(e) and 15(d)-15(e) under the Securities
             Exchange Act of 1934, as amended (the “Exchange Act”), as of the end
  26         of the period covered by this Quarterly Report on Form 10-Q. Our
             disclosure controls and procedures are designed to ensure that
  27         information required to be disclosed in the reports we file or submit
             under the Exchange Act is recorded, processed, summarized and
  28         reported within the time periods specified in the SEC’s rules and forms,

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   1         and that such information is accumulated and communicated to our
             management, including the Chief Executive Officer and the Chief
   2         Financial Officer, to allow timely decisions regarding required
             disclosures. Any controls and procedures, no matter how well designed
   3         and operated, can provide only reasonable assurance of achieving the
             desired control objective, and management necessarily applies its
   4         judgment in evaluating the cost-benefit relationship of possible controls
             and procedures. Based on that evaluation, our Chief Executive Officer
   5         and Chief Financial Officer have concluded that our disclosure
             controls and procedures were effective at a reasonable assurance level
   6         as of September 30, 2024.
   7         Changes in Internal Control over Financial Reporting
   8         There have been no changes in our internal control over financial
             reporting, as such term is defined in Rules 13a-15(f) and 15d-15(f) under
   9         the Exchange Act, during the three months ended September 30, 2024
             that have materially affected, or are reasonably likely to materially
  10         affect, our internal control over financial reporting.
  11         49.    On January 8, 2024, the Individual Defendants caused Maravai to issue
  12 a press release announcing certain preliminary financial results for the year ended
  13 December 31, 2024. The press release reported that “based on preliminary year-end
  14 results and subject to year-end closing adjustments, the Company expects to report
  15 total 2024 revenue near the mid-point of the previously announced guidance range of
  16 $255.0 million and $265.0 million.”
  17         50.    The above statements were materially misleading because they failed to
  18 disclose that: (1) Maravai lacked adequate internal controls over financial reporting
  19 related to revenue recognition; (2) as a result, the Company inaccurately recognized
  20 revenue on certain transactions during fiscal 2024; (3) its goodwill was overstated;
  21 and (4) as a result of the above, Defendants’ statements about Maravai’s business,
  22 operations, and prospects were materially false and misleading and/or lacked a
  23 reasonable basis at all relevant times.
  24         C.     The Truth Slowly Emerges
  25         51.    On February 25, 2025, before the market opened, Maravai issued a press
  26 release, postponing its fiscal 2024 earnings release and announcing it would delay
  27 filing its annual report on Form 10-K for the fiscal year ended December 31, 2024.
  28 Specifically, the press release stated, in relevant part:

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   1        Maravai LifeSciences Holdings, Inc. (Maravai) (NASDAQ: MRVI), a
            global provider of life science reagents and services to researchers and
   2        biotech innovators, today announced that it is postponing its previously
            announced earnings release and call scheduled for February 25, 2025. It
   3        also announced that it intends to file a Form 12b-25, Notification of Late
            Filing, with the U.S. Securities and Exchange Commission and will
   4        delay the filing its annual report on Form 10-K for the fiscal year ended
            December 31, 2024 (the “2024 Form 10-K”). Maravai intends to hold its
   5        postponed earnings call and to file the 2024 Form 10-K as soon as
            practicable and on or before March 18, 2025, prior to the expiration of
   6        the automatic extension of fifteen calendar days from the original 2024
            Form 10-K due date of March 3, 2025.
   7
            Maravai requires additional time to complete its year-end financial close
   8        process for reasons related primarily to the following items. First,
            Maravai requires additional time to complete its assessment of a
   9        potential non-cash impairment charge related to goodwill associated
            with its previous acquisition of Alphazyme LLC. Second, Maravai
  10        requires additional time to assess an error identified during the close
            process with respect to revenue recognition associated with a single
  11        shipment identified in year-end audit procedures that resulted in
            approximately $3.9 million in revenue being recorded in the final week
  12        of the second quarter of 2024 upon shipment when it should have been
            recorded in the first week of the third quarter of 2024 upon receipt by the
  13        customer. This revenue recognition error is not expected to impact full-
            year 2024 revenue, which Maravai still expects to be near the mid-point
  14        of the previously announced guidance range of $255.0 million and
            $265.0 million. Third, Maravai requires additional time to complete its
  15        assessment of the effectiveness of its disclosure controls and procedures
            and internal controls over financial reporting as of December 31, 2024,
  16        and any remediation, including with respect to remediation of a material
            weakness in its internal controls over revenue recognition identified by
  17        management.
  18        52.    On this news, the Company’s share price fell $0.87 or 21.70%, to close
  19 at $3.14 per share on February 25, 2025, on unusually heavy trading volume.
  20        53.    On March 18, 2025, Maravai filed its 2024 10-K, reporting $259.18
  21 million in revenue. It also reported a $11.9 million goodwill impairment to reflect
  22 lower projected near-term revenues due to lower demand in enzyme products within
  23 the Alphazyme reporting unit. Specifically, it stated:
  24        In connection with preparing our financial statements for the year ended
            December 31, 2024, we tested our reporting units for potential goodwill
  25        impairment in response to impairment indicators identified during our
            forecast process and the sustained decline in our stock price. As of
  26        December 31, 2024, we revised our long-term forecast to reflect lower
            projected near-term revenues due to lower demand in enzyme products
  27        within our Nucleic Acid Production business. As such, we performed a
            quantitative goodwill impairment test on each of our reporting units with
  28        goodwill as of December 31, 2024, and as a result, we concluded that the

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   1          Alphazyme reporting unit, which is contained in the Nucleic Acid
              Production segment, had a carrying value that exceeded its estimated fair
   2          value. As a result, we recorded goodwill impairment of $11.9 million on
              the consolidated statements of operations. No impairment was recorded
   3          for any of our other reporting units at that time.
   4          54.      In the 2024 10-K, the Company also identified material weaknesses in
   5 revenue and accounts receivable, as well as in goodwill impairment. Specifically, it
   6 stated:
   7          Our management assessed the effectiveness of our internal control over
              financial reporting as of December 31, 2024. Based on the results of this
   8          evaluation, our management concluded that our internal control over
              financial reporting was ineffective as of December 31, 2024, because we
   9          identified the following material weaknesses:
  10          •Revenue and accounts receivable: Management did not design and
              operate effective controls over the Company’s revenue process.
  11          Specifically, we did not design and maintain effective controls over the
              timing of when the Company has transferred control of goods to its
  12          customers at period end, segregation of duties related to customer
              purchase order information entered into the Company’s IT systems,
  13          accounting for customer product revenue, and the authorization and
              documentation of pricing approvals. The material weakness is an
  14          aggregation of these matters.
  15          •Goodwill impairment: Management did not operate effective controls
              over the key inputs and assumptions that were utilized to determine the
  16          fair value of reporting units in the Company’s quantitative goodwill
              impairment assessment as of December 31, 2024.
  17
       VI.    DAMAGES TO THE COMPANY
  18
              55.      As a direct and proximate result of the Individual Defendants’ conduct,
  19
       Maravai has been seriously harmed and will continue to be. Such harm includes, but
  20
       is not limited to:
  21
                    a) Any funds paid to settle the Securities Class Action;
  22
                    b) Loss of market capital; and
  23
                    c) Costs incurred from compensation and benefits paid to the Defendants
  24
                       who have breached their duties to Maravai.
  25
              56.      In addition, Maravai’s business, goodwill, and reputation with its
  26
       business partners, regulators, and shareholders have been gravely impaired. The
  27
       Company still has not fully admitted the nature of its false statements and the true
  28

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   1 condition of its business. The credibility and motives of management are now in
   2 serious doubt.
   3        57.    The actions complained of herein have irreparably damaged Maravai’s
   4 corporate image and goodwill. For at least the foreseeable future, Maravai will suffer
   5 from what is known as the “liar’s discount,” a term applied to the stocks of companies
   6 who have been implicated in illegal behavior and have misled the investing public,
   7 such that Maravai’s ability to raise equity capital or debt on favorable terms in the
   8 future is now impaired.
   9 VII. DERIVATIVE AND DEMAND FUTILITY ALLEGATIONS
  10        58.    Plaintiff brings this action derivatively in the right and for the benefit of
  11 Maravai to redress injuries suffered, and to be suffered, by Maravai as a direct result
  12 of the wrongdoing alleged herein. Maravai is named as a nominal defendant solely
  13 in a derivative capacity. This is not a collusive action to confer jurisdiction on this
  14 Court that it would not otherwise have.
  15        59.    Plaintiff will adequately and fairly represent the interests of Maravai in
  16 enforcing and prosecuting its rights.
  17        60.    Plaintiff has continuously been a shareholder of Maravai at times
  18 relevant to the wrongdoing complained of and is a current Maravai shareholder.
  19        61.    When this action was filed, Maravai’s Board of Directors consisted of
  20 eleven directors, Defendants Eckert, Cunningham, Daverman, DeFord, Gray,
  21 Hopfield, Lucier, Marker, Mihas, and Prahalad, and non-party director Bernd Brust
  22 (“Brust”). Plaintiff did not make any demand on the Board to institute this action
  23 because such a demand would be a futile, wasteful, and useless act, as set forth below.
  24        62.    Brust is the Company’s CEO and does not meet the Nasdaq requirements
  25 for director independence. Although Brust only recently became CEO and his total
  26 pay for 2025 has not been disclosed, it is undoubtedly material to him. According to
  27 the Company’s public filings, Brust earns a base salary of $750,000 and receives
  28 lucrative equity compensation. Brust could disinterestedly evaluate a demand that

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   1 might cause him to sue his fellow directors, including the members of the Company’s
   2 Nominating, Governance and Risk Committee, who are Cunningham, Hopfield, and
   3 Prahalad. Additionally, Brust could not disinterestedly consider a demand to sue his
   4 CFO, defendant Herde, with whom he works on a day-to-day basis and with whom a
   5 collaborative working relationship is fundamental for Brust to have success as a CEO.
   6 As a result, demand is futile as to Brust.
   7         63.   According to the 2024 Proxy, Maravai’s directors determined that the
   8 following five directors were not independent under Nasdaq listing rules:
   9 Cunningham, Daverman, Marker, and Mihas. Cunningham, Daverman, and Mihas
  10 are members of the GTCR board of managers. As the Company has repeatedly
  11 disclosed in its public filings: “investment entities affiliated with [GTCR] currently
  12 control a majority of the voting power of our outstanding common stock and may
  13 have interests that conflict with ours or yours in the future.” As a result, Defendants
  14 Cunningham, Daverman, Marker, and Mihas could not disinterestedly consider a
  15 demand for action in connection with the wrongdoing alleged herein because their
  16 significant financial interests in Maravai stock and the related party transactions in
  17 which GTCR engages with Maravai cause GTCR’s interests to conflict with those of
  18 the minority shareholders.
  19         64.   DeFord, Gray, and Hopfield served as members of the Audit Committee
  20 at relevant times. As such they are responsible for the integrity of Maravai’s financial
  21 statements. In their capacities as Audit Committee members, DeFord, Gray, and
  22 Hopfield reviewed and approved the materially misleading statements and allowed
  23 them to be disseminated in Maravai’s SEC filings and other disclosures. Thus,
  24 DeFord, Gray, and Hopfield breached their fiduciary duties and are not disinterested,
  25 and demand is excused as to them.
  26         65.   Demand is excused as to Martin, Cunningham, Daverman, DeFord,
  27 Gray, Hopfield, Lucier, Marker, Mihas, and Prahalad because they face a substantial
  28 likelihood of liability for violations of Section 14(a) of the Exchange Act as set forth

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   1 herein. As a result, they could not disinterestedly consider a demand for action that
   2 would cause them to assess their own state of mind and the knowledge they possessed
   3 at issue with the wrongdoing alleged herein.
   4                                        COUNT I
   5          Against the Individual Defendants for Breach of Fiduciary Duty
   6         66.   Plaintiff incorporates by reference and realleges each and every
   7 allegation contained above, as though fully set forth herein.
   8         67.   The Individual Defendants each owes and owed to the Company the duty
   9 to exercise candor, good faith, and loyalty in the management and administration of
  10 Maravai’s business and affairs, particularly with respect to issues as fundamental as
  11 public disclosures.
  12         68.   The conduct by the Individual Defendants set forth herein was due to
  13 their intentional or reckless breach of the fiduciary duties they owed to the Company.
  14 The Individual Defendants intentionally or recklessly breached or disregarded their
  15 fiduciary duties to protect the rights and interests of Maravai.
  16         69.   In breach of their fiduciary duties owed to Maravai, the Individual
  17 Defendants willfully participated in and caused the Company to expend unnecessarily
  18 its corporate funds, rendering them personally liable to the Company for breaching
  19 their fiduciary duties.
  20         70.   In particular, the Individual Defendants knowingly or recklessly made
  21 untrue statements and/or permitted the Company’s public filings, disclosures, and
  22 statements to misleadingly report the Company’s overall prospects.
  23         71.   As a direct and proximate result of the breaches of their fiduciary
  24 obligations by the Individual Defendants, Maravai has sustained and continues to
  25 sustain significant damages, including direct monetary damages, exposure to liability
  26 from securities litigation and a loss of goodwill in the capital markets. As a result of
  27 the misconduct alleged herein, Defendants are liable to the Company.
  28

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   1                                        COUNT II
   2 Against Defendants Martin, Cunningham, Daverman, DeFord, Gray, Hopfield,
       Lucier, Marker, Mihas, and Prahalad for Violations of Section 14(a) of the
   3                               Exchange Act
   4         72.   Plaintiff incorporates by reference and realleges each and every
   5 allegation contained above, as though fully set forth herein.
   6         73.   Rule 14a-9, promulgated pursuant to §14(a) of the Exchange Act,
   7 provides that no proxy statement shall contain “any statement which, at the time and
   8 in light of the circumstances under which it is made, is false or misleading with respect
   9 to any material fact, or which omits to state any material fact necessary in order to
  10 make the statements therein not false or misleading.” 17 C.F.R. §240.14a-9.
  11 Specifically, the Company’s proxy statement filed on April 25, 2024 violated §14(a)
  12 and Rule 14a-9 because it solicited stockholder approval to elect Daverman, Gray,
  13 and Mihas, and non-party Hull to new three year terms as directors.
  14         74.   Defendants knew or recklessly failed to know that the statements and
  15 omissions regarding the qualifications and oversight capabilities of the Board’s
  16 director nominees, as well as their activities as Board and committee members,
  17 contained in the 2024 Proxy were materially false and misleading.
  18         75.   The misrepresentations and omissions in the 2024 Proxy were material
  19 to Company shareholders in voting on the 2024 Proxy. At the time of the proxy
  20 solicitation, the Company’s largest stockholder and controlling entity, GTCR, held
  21 approximately 55.92% of the Company’s outstanding voting power. The proxy
  22 solicited votes for four director nominees, only two of whom had been nominated by
  23 GTCR. Under the Company’s governing documents, directors are elected by a
  24 plurality of the votes cast, meaning that any nominee receiving at least one affirmative
  25 vote is elected in an uncontested election.
  26         76.   Because GTCR did not nominate two of the four directors, it retained the
  27 power and discretion to withhold its votes from those individuals. If it had done so,
  28 and if no other shareholder cast votes in favor of a given nominee, that nominee would

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   1 not have been elected. As a result, the 2024 Proxy was an essential link in securing
   2 the election of directors who lacked the support of GTCR. Had the 2024 Proxy
   3 accurately disclosed the material facts, including the Audit Committee and full
   4 Board’s failure to discharge its risk and oversight responsibilities, reasonable
   5 shareholders would have withheld their votes, and one or more nominees would not
   6 have been elected. Accordingly, the false and misleading proxy statement deprived
   7 shareholders of the opportunity to make an informed voting decision and resulted in
   8 harm to the Company, in violation of Section 14(a) of the Exchange Act and SEC
   9 Rule 14a-9.
  10        77.    The 2024 Proxy was thus an essential link in the accomplishment of the
  11 continuation of defendants’ continued violation of their fiduciary duties.
  12        78.    The Company was damaged as a result of the defendants’ material
  13 misrepresentations and omissions in the proxy statement.
  14        79.    Plaintiff on behalf of the Company has no adequate remedy at law.
  15                               PRAYER FOR RELIEF
  16        WHEREFORE, Plaintiff, on behalf of Maravai, demands judgment as follows:
  17        A.     Declaring that Plaintiff may maintain this action on behalf of Maravai
  18 and that Plaintiff is an adequate representative of the Company;
  19        B.     Against all of the Defendants and in favor of the Company for the
  20 amount of damages sustained by the Company as a result of the Defendants’ breaches
  21 of fiduciary duties, waste of corporate assets, and unjust enrichment;
  22        C.     Declaring that Defendants have breached and/or aided and abetted the
  23 breach of their fiduciary duties to Maravai;
  24        D.     Directing Maravai to take all necessary actions to reform and improve
  25 its corporate governance and internal procedures to comply with applicable laws and
  26 to protect Maravai and its stockholders from a repeat of the damaging events
  27 described herein, including, but not limited to, putting forward for stockholder vote,
  28 resolutions for amendments to the Company’s Bylaws or Articles of Incorporation

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   1 and taking such other action as may be necessary to place before stockholders for a
   2 vote of the following corporate governance policies:
   3               1.    a proposal to strengthen the Company’s controls over financial
   4 reporting;
   5               2.    a proposal to strengthen the Board’s supervision of operations and
   6 develop and implement procedures for greater stockholder input into the policies and
   7 guidelines of the Board;
   8               3.    a proposal to strengthen Maravai’s oversight of its disclosure
   9 procedures;
  10               4.    a provision to control insider transactions; and
  11               5.    a provision to permit the stockholders of Maravai to nominate at
  12 least three candidates for election to the Board;
  13        E.     Extraordinary equitable and/or injunctive relief as permitted by law,
  14 equity, and state statutory provisions sued hereunder, including attaching,
  15 impounding, imposing a constructive trust on, or otherwise restricting the proceeds of
  16 Defendants’ trading activities or their other assets so as to assure that Plaintiff on
  17 behalf of Maravai has an effective remedy;
  18        F.     Awarding to Maravai restitution from Defendants, and each of them, and
  19 ordering disgorgement of all profits, benefits, and other compensation obtained by the
  20 Defendants;
  21        G.     Awarding to Plaintiff the costs and disbursements of the action,
  22 including reasonable attorneys’ fees, accountants’ and experts’ fees, costs, and
  23 expenses; and
  24        H.     Granting such other and further relief as the Court deems just and proper.
  25                                   JURY DEMAND
  26        Pursuant to Fed. R. Civ. P. 38(b), Plaintiff demands a trial by jury.
  27
  28

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   1 DATED: June 20, 2025                GLANCY PRONGAY & MURRAY LLP
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   3
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   4
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                                                      VERIFICATION

                     I, John Mercer, do hereby verify that I am a holder of stock of Maravai LifeSciences

             Holdings, Inc., and was a holder of such stock at the time of the wrongs complained of in the

             foregoing Verified Shareholder Derivative Complaint (“Complaint”). I have authorized the filing

             of the Complaint. I have reviewed the Complaint. All of the averments contained in the Complaint

             regarding me are true and correct upon my personal knowledge and, with respect to the remainder

             of the averments, are true and correct to the best of my knowledge, information, and belief.

                     I declare under penalty of perjury that the foregoing is true and correct.



             Date:                                        ______________________
                                                                   John Mercer
